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                  United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 23-7061                                                 September Term, 2023
                                                                          1:22-cv-02256-RC
                                                   Filed On: September 12, 2023 [2016543]
Andrew Hanson, et al.,

               Appellants

        v.

District of Columbia and Ashan M.
Benedict,

               Appellees

                                         ORDER

        Upon consideration of appellees’ consent motion to extend the briefing schedule,
it is

       ORDERED that the motion be granted. The following revised briefing schedule
will now apply in this case:

         Appellees' Brief                                           October 19, 2023
         Appellants' Reply Brief                                November 16, 2023
         Deferred Appendix                                      November 27, 2023
         Final Briefs                                               December 7, 2023

                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk
